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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

 CUSTOM PRODUCE SALES, a                            CIVIL CASE NO.
 corporation,

                       Plaintiff,
        v.

 RINGER & SON BROKERAGE, INC., a
 corporation; STEPHANIE JOHNSON, an
 individual; JOSHUA JOHNSON, an
 individual,
                   Defendants.



         COMPLAINT FOR VIOLATIONS OF THE PERISHABLE
   AGRICULTURAL COMMODITIES ACT (“PACA”) [7 U.S.C. §499e, et seq.]


       Plaintiff CUSTOM PRODUCE SALES. (“CPS” or “Plaintiff”) a corporation,
complains and alleges as follows:
                                               I.
                              JURISDICTION AND VENUE
       1.     This court has jurisdiction of this case pursuant to §5(c)(5) of the Perishable
Agricultural Commodities Act of 1930 as amended [7 U.S.C. §499(c)(5)] (“PACA”) and
pursuant to 28 U.S.C. §1331. Venue is proper pursuant to 28 U.S.C. §1391(b).
       2.     Plaintiff is and during all times herein has been a corporation organized and
doing business under the laws of the State of California, with its principal place of
business in the City of Parlier, State of California.
       3.     Plaintiff is informed, believes and thereon alleges that defendant RINGER
& SON BROKERAGE, INC. (“Ringer”) is and during all times relevant herein was a




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corporation with its principal mailing and business operations address of 30 N. 1st
Avenue, Brighton, CO 80601.
       4. Plaintiff is informed, believes and thereon alleges that Defendant STEPHANIE
JOHNSON (“SJ”) is an individual who during all times material herein was an officer,
director, and/or shareholder of Ringer and who maintains a principal place of business
located at 30 N. 1st Avenue, Brighton, CO 80601.
       5. Plaintiff is informed, believes and thereon alleges that Defendant JOSHUA
JOHNSON (“JJ”) is an individual who during all times material herein was an officer,
director, and/or shareholder of Ringer and who maintains a principal place of business
located at 30 N. 1st Avenue, Brighton, CO 80601.
       6.     SJ and JJ are collectively referred to herein as “the Individual Defendants.”
       7.     Ringer and the Individual Defendants are referred to collectively herein as
“Defendants.”
       8.     Plaintiff is informed, believes and thereon alleges that the Individual
Defendants are and at all times material herein were insiders with actual and constructive
knowledge of the PACA trust and the provisions set forth therein and who are and during
times relevant herein were responsible for the daily management and control of Ringer
and who are and during relevant times herein were statutory trustees under the PACA in
a position to control the PACA trust assets that are the subject of this lawsuit.
                                              II.
                              FIRST CAUSE OF ACTION
                    (Breach of Contract Against Defendant Ringer)
       9.     Plaintiff hereby realleges and incorporates by reference paragraphs 1
through 8 inclusive, of this Complaint as though fully set forth herein.
       10.    Plaintiff is informed and believes and thereon alleges that at all times
relevant herein, Ringer was engaged in the handling of produce in interstate and/or
foreign commerce as a commission merchant, dealer and/or retailer in wholesale and



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jobbing quantities and was therefore subject to the provisions of the PACA and the
regulations promulgated by the Secretary of Agriculture of the United States of America
pursuant to the PACA.
       11.    Between on or about July 5, 2019 and November 19, 2019, in a series of
transactions, Plaintiff sold perishable agricultural commodities to Defendant Ringer at
said Defendant’s request, and shipped said produce in accordance with Ringer’s
instructions, for which said Defendant agreed to pay Plaintiff in the principal amounts at
least as great as the sum of $41,590.40.
       12.    At or about the date of each transaction described above, Plaintiff
forwarded to Defendant Ringer invoices for said transactions setting forth in detail the
amounts owed by said Defendant for Defendant’s purchase of the commodities,
cumulatively totaling $41,590.40. True and correct copies of such invoices are attached
hereto and incorporated herein by this reference as Exhibit 1.
       13.    Plaintiff has repeatedly demanded that Defendant Ringer pay the amounts
due and owing under the invoices. However, said Defendant has failed and refused, and
continues to fail and refuse, to pay Plaintiff for the produce purchased and no part of
those sums due and owing has been paid.
       14.    Plaintiff has performed all conditions, covenants and obligations required to
be performed by it under the agreements for sales of produce as set forth herein.
       15.    As a direct and proximate result of the failure of Defendant Ringer to remit
payment due to Plaintiff as described above, Plaintiff has suffered cumulative losses in
the amount of at least $41,590.40, plus recoverable attorney’s fees and interest at the
highest legal rate.
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                                             III.
                            SECOND CAUSE OF ACTION
   (Enforcement of Statutory Trust Provisions of PACA Against All Defendants)
       16.    Plaintiff hereby realleges and incorporates by reference paragraphs 1
through 15, inclusive of this Complaint as though fully set forth herein.
       17.    Plaintiff at all times relevant herein was engaged in the business of selling
and/or shipping perishable agricultural commodities as defined by PACA [7 U.S.C.
§499a(4)].
       18.    Plaintiff is informed and believes and thereon alleges that during all times
mentioned herein, Defendant Ringer was engaged in the business of buying and selling
perishable agricultural commodities as defined by PACA in wholesale and jobbing
quantities as defined by PACA and was licensed by the USDA under PACA license no.
19761640.
       19.    The perishable agricultural commodities that are the subject of this action
were purchased and sold in or in contemplation of the course of interstate and/or foreign
commerce.
       20.    Pursuant to 7 U.S.C. §499e(c)(1)-(4) of the PACA upon receipt of the
produce sold by Plaintiff to Defendant Ringer, Plaintiff became a beneficiary of a
floating, non-segregated statutory trust on all of Defendants’ perishable agricultural
commodities, all inventories of food or other products derived from perishable
agricultural commodities, and any receivables or proceeds from the sale of such
perishable agricultural commodities or products or assets derived therefrom.
       21.    Pursuant to the statutory trust provisions of PACA [7 U.S.C. §499e(c)(1)-
(4)], Plaintiff is informed and believes and thereon alleges that Plaintiff has performed
and fulfilled all duties required to preserve its trust benefits in the cumulative amount of
at least $41,590.40 as separately set forth above, for the perishable agricultural
commodities sold to Defendant Ringer, all of which remains past due and unpaid.



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       22.    Specifically, Plaintiff preserved its statutory trust rights under PACA by
providing the following written notice of each Plaintiff’s intent to preserve said Plaintiff’s
PACA trust rights on the face of each invoice: “The perishable agricultural commodities
listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of
the Perishable Agricultural Commodities Act, 1930 (7 U.S.C. 499e). The seller of these
commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities, and any receivables or proceeds from the sale
of these commodities until full payment is received.”
       23.    Plaintiff’s invoices contain the following written terms regarding recovery
of costs and attorneys’ fees: “In the event legal action is commenced to collect the sums
due under this invoice, the prevailing party shall be entitled to recover all court costs and
reasonable attorneys’ fees incurred thereby as damages in addition to any principal
balance then remaining due.”
       24.    Plaintiff’s invoices further contain the following written terms providing
for finance charges on past due payments: “Accounts past due are subject to a Finance
Charge of 1 1/2% per month, 18% per annum.”
       25.    The terms described in the preceding paragraphs 23 and 24 were bargained-
for terms of the contract which were accepted by Defendants without objection.
       26.    The sums appearing on each of the invoices sent by each Plaintiff to
Defendants represented the sales prices to which Defendants agreed for the transactions
underlying this Complaint.
       27.    Plaintiff is informed and believes for the reasons alleged herein above, that
Defendants, and each of them, are statutory trustees under PACA. The PACA trust
requires Defendants, and each of them, to hold and preserve such goods, inventories,
proceeds and receivables in trust for the benefit of Plaintiff until full payment has been
made to Plaintiff. Plaintiff is informed and believes and thereon alleges that Defendants
have failed to maintain the trust assets and keep them available to satisfy Defendants’



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obligations to Plaintiff in that said Defendants have failed to perform the requirements of
said statutory trust provisions, express and implied, and have breached their fiduciary
duties to maintain the trust assets, all in violation of the provisions of the PACA Title 7,
U.S.C. §499(b)(4) and 7 Code of Federal Regulation §46.46 (1984) and all other
pertinent regulations issued by the Secretary of Agriculture pursuant to the PACA.
       28.    Plaintiff is informed and believes and upon that basis alleges that during
times relevant herein, Defendants transferred or diverted the trust assets, and are
continuing to so transfer or divert trust assets, namely receivables or proceeds derived
from Defendants’ sale of produce, to their own use and/or to an unknown third party or
parties, in violation of their statutory duties under the PACA to preserve the trust assets
for the benefit of Plaintiff. [7 C.F.R. §46.46(c)]. The statutory trust created by the
PACA unequivocally gives priority to the interest of Plaintiff on all inventories of
products derived from perishable agricultural commodities, and any receivables or
proceeds from the sale of such commodities or products that have been transferred to
secured or unsecured creditors.
       29.    As a direct and proximate cause and result of the wrongful acts and
omissions of Defendants, Plaintiff has suffered the cumulative loss of at least $41,590.40,
plus recoverable attorney’s fees and interest in amounts to be determined, all of which
qualifies for protection under the PACA trust.
                                              IV.
                             THIRD CAUSE OF ACTION
  (For Violation of Perishable Agricultural Commodities Act: Failure To Account
                      And Pay Promptly Against All Defendants)
       30.    Plaintiff   hereby realleges and incorporates by reference paragraphs 1
through 29, inclusive, of this Complaint as though fully set forth herein.
       31.    Plaintiff has repeatedly demanded that Defendants pay the amounts due
stated above, for produce sold and delivered to Defendants as described above. Despite



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these demands, Defendants have failed and refused to truly, correctly and accurately
account for and make full payment of the proceeds of those transactions. Therefore,
Defendants have failed to perform the requirements of said contracts of sale, express and
implied, and have breached their duty to account and pay for the produce sold, and have
diverted PACA trust assets to third parties, all in violation of the provisions of the PACA
Title 7, U.S.C. §499e et seq. (1930), and all other pertinent regulations issued by the
Secretary of Agriculture to the PACA.
       32.    As a direct and proximate cause and result of the wrongful acts and
omissions of Defendants as alleged above, Plaintiff has suffered the cumulative loss of
$41,590.40 in net produce sales proceeds due and owing to Plaintiff and wrongfully
withheld or wrongfully diverted by Defendants, plus reasonable attorney’s fees and
interest in amounts to be determined.
                                              V.
                            FOURTH CAUSE OF ACTION
                (For Breach of Fiduciary Duty Against All Defendants)
       33.    Plaintiff   hereby realleges and incorporates by reference paragraphs 1
through 32, inclusive, of this Complaint as though fully set forth herein.
       34.    Plaintiff is informed, believes and thereon alleges that during times relevant
to this action, the Individual Defendants were the controlling officers, directors,
members, and/or shareholders of Defendant Ringer.
       35.    As the controlling officers, directors, members, and/or shareholders of
Defendant Ringer, the Individual Defendants, and each of them, had and continues to
have a duty to ensure that Defendant Ringer fulfilled its duties as a PACA trustee and
maintained PACA Trust Assets in such a manner so as to ensure there were, at all times,
sufficient Trust Assets available to satisfy all outstanding PACA trust obligations, such as
that owed to Plaintiff, as the obligation became due.
       36.    Plaintiff is informed, believes and thereon alleges that during times herein



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the Individual Defendants had full knowledge and responsibility for the handling of
Defendant Ringer’s duties as trustees of the PACA trust.
       37.    Plaintiff is informed, believes and thereon alleges that the Individual
Defendants controlled or had and continue to have a duty to control Defendant Ringer’s
operations and financial dealings, including those involving the PACA Trust Assets.
       38.    Plaintiff is informed, believes and thereon alleges that Defendant Ringer
breached its fiduciary duty to maintain sufficient PACA Trust Assets to pay all PACA
trust claims as they became due.
       39.    Plaintiff is informed, believes and thereon alleges that the Individual
Defendants breached their fiduciary duties to direct Defendant Ringer to fulfill its duties
as a PACA trustee to preserve and maintain sufficient PACA Trust Assets to pay Plaintiff
for the Produce they supplied to Defendants.
       40.    As a direct and proximate cause and result of the Defendant Ringer and the
Individual Defendants’ breach of their fiduciary duties, Plaintiff has incurred damages in
the cumulative amount of at least $41,590.40 plus recoverable finance charges, attorneys’
fees and costs, all of which qualifies for protection under the PACA trust.
       41.    As statutory PACA trustees, the Individual Defendants are jointly and
severally personally liable to Plaintiff for the breach of fiduciary duty in dissipating the
PACA trust to the extent of $41,590.40, less any monies Plaintiff receives from the
PACA Trust Assets.
                                                IX.
                                   FIFTH CAUSE OF ACTION
             (For Finance Charges and Recoverable Attorneys’ Fees Against All
                                           Defendants)
       42.    Plaintiff hereby realleges and incorporates by reference paragraphs 1 to 41,
inclusive of this Complaint as though fully set forth herein.
       43.    Pursuant to PACA, 7 U.S.C. §499e(c) and the Code of Federal Regulations



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promulgated there under, Defendants were statutorily required to maintain a trust in such
amount in favor of Plaintiff in order to make full payment to Plaintiff.
       44.     As a result of the failure of Defendants to maintain the trust and to make
full payment promptly, Plaintiff has been required to pay attorneys’ fees and costs in
order to bring this action to compel payment of the trust res.
       45.     As a further result of the failure of Defendants to comply with their
statutorily mandated duties to maintain the trust and make full payment promptly,
Plaintiff has lost the use of said money.
       46.     Plaintiff will not receive full payment as required by PACA, 7 U.S.C.
§499e(c), if Plaintiff must expend part of said payment on attorneys’ fees, costs and loss
of interest due to violations by Defendants of their statutory duties to maintain the trust
and make full payment promptly.
       47.     Plaintiff’s invoices contained written provisions for attorneys’ fees on the
face of each of the invoices submitted to Defendants. Plaintiff’s invoices also contained
a provisions for interest on unpaid balances at the rate of 1.5% per month (18% per
annum) from the date payment was due until paid. Each of these provisions were
bargained for terms of the contract and are sums owing in connection with the
transaction.    Accordingly, Plaintiff is entitled to and requests judgment against
Defendants, jointly and severally, for pre-judgment interest and/or finance charges and
costs and attorneys’ fees.
                                 SIXTH CAUSE OF ACTION
                       (For Unjust Enrichment Against All Defendants)
       48.     Plaintiff hereby realleges and incorporates by reference paragraphs 1 to 47,
inclusive of this Complaint as though fully set forth herein.
       49.     Defendants, and each of them, have converted, or are now in the process of
converting, to their own use and benefit, the goods delivered to Defendants by Plaintiffs,
and/or the proceeds therefrom, valued in the cumulative principal amount due of at least



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$41,590.40, as separately set forth above.
       50.    If the Defendants are allowed to continue to convert and/or use such goods
and/or proceeds, they will be unjustly enriched to the detriment of Plaintiffs.
       51.    As a direct and proximate result of the wrongful conversion of funds due to
Plaintiffs, Plaintiffs have been damaged and Defendants have been unjustly enriched in
the cumulative principal amount of at least $41,590.40.
                            SEVENTH CAUSE OF ACTION
                       (For Conversion Against All Defendants)
       52.    Plaintiff hereby realleges and incorporates by reference paragraphs 1 to 51,
inclusive of this Complaint as though fully set forth herein.
       53.    At all times relevant herein, Plaintiffs were and currently are, entitled
to possession of the specific sums as alleged herein in the cumulative principal
amount due of at least $41,590.40.
       54.    During all times relevant herein, and continuing thereafter, Plaintiffs
have repeatedly demanded the immediate turnover of the above-mentioned sums
but Defendants have failed and refused and continue to fail and refuse to turn over
such sums of money to Plaintiffs.
       55.    Plaintiffs are informed and believe and thereon allege that Defendants
have diverted payments of Defendants’ receivables and/or other assets which are
part of the PACA trust (and which rightfully belong to Plaintiffs) to pay
themselves or third parties, and that the Individual Defendants directed or
participated in these activities.
       56.    Consequently, Defendants are liable to Plaintiffs for conversion of
Plaintiffs’ PACA trust property in at least the amount of the cumulative principal
balance due, which is $41,590.40.
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       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
                               FIRST CAUSE OF ACTION
                                 (For Breach of Contract)
       1.      For damages in the cumulative amount of $41,590.40 as against Defendant
Ringer; and,
       2.      For such other and further relief as the Court may deem just and proper.
                              SECOND CAUSE OF ACTION
               (For Enforcement of Statutory Trust Provisions of PACA)
       1.      For an order requiring Defendants to immediately account for and pay all
PACA trust assets to Plaintiff in the combined amount of $41,590.40 as against
Defendants; and,
       2.      For such other and further relief as the Court may deem just and proper.
                              THIRD CAUSE OF ACTION
            (For Violation Of Perishable Agricultural Commodities Act: Failure To
                               Account And Pay Promptly)
       1.      For damages in the combined amount of $41,590.40 as against Defendants;
       2.      For an order requiring Defendants to immediately account for and pay all
PACA trust assets to Plaintiff in the total amount of $41,590.40 as against Defendants,
jointly and severally; and,
       3.      For such other and further relief as the Court may deem just and proper.
                              FOURTH CAUSE OF ACTION
                              (For Breach of Fiduciary Duty)
       1.      For judgment, jointly and severally, against the Individual Defendants and
in favor of the Plaintiff in the cumulative amount of $41,590.40;
       2.      For such other and further relief as the Court may deem just and proper.




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                               FIFTH CAUSE OF ACTION
             (For Attorneys Fees, Costs, Finance Charges and/or Interest)

        1.    For interest or finance charges thereon at the contractual rate of 18% per
annum, or at the highest legal rate from the date the obligation became due and payable
to Plaintiff until fully paid as separately alleged above, until all principal sums are fully
paid;
        2.    For reasonable attorneys’ fees and costs of suit incurred herein; and,
        3.    For such other and further relief as this Court deems proper.
                              SIXTH CAUSE OF ACTION
                                 (For Unjust Enrichment)

        1.    For damages in the combined principal amount of $41,590.40 as against
Defendants, and each of them, jointly and severally, and in favor of each Plaintiff as
separately set forth in the allegations herein;
        2.    For such other and further relief as this Court deems proper.


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                            SEVENTH CAUSE OF ACTION
                                      (For Conversion)

       1.     For the value of the monies converted in the combined principal amount of
$41,590.40 as against Defendants, and each of them, jointly and severally, and in favor of
each Plaintiff as separately set forth in the allegations herein;
       2.     For such other and further relief as this Court deems proper.

                                                   Respectfully submitted,
Dated: December 23, 2019                            /s/R. Jason Read
                                                   R. Jason Read
                                                   CA Bar No. 117561
                                                   Admitted to Practice in District of
                                                   Colorado
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                                                   Attorneys for Plaintiff,
                                                   Custom Produce Sales




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                          EXHIBIT 1
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